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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
            v.                            )
                                          )                  Criminal No. 06-228-02 (ESH)
                                          )
RODERIC L. BOLING,                        )
                                          )
                        Defendant.        )
__________________________________________)


                                             ORDER

       Defendant Roderic L. Boling was sentenced to a 60-month term of probation with the

special condition that Boling “shall serve 8 months in a halfway house in Florida.” (Judgment

and Commitment, Jan. 12, 2017 [ECF No. 257], at 2, 4.) Boling is to report to the halfway house

tomorrow, on February 9, 2017. On February 7, 2017, Boling represented that he would move

pro se for a stay of his sentence pending appeal, and that he would send the motion via overnight

mail to the Clerk’s Office so that it would arrive today. The motion did not arrive at the Clerk’s

Office, but Boling sent a courtesy copy of his motion to the Court and to the government via

email. The Court has also received a response from the government opposing the motion.

       The Court intends to deny Boling’s motion. A written opinion will follow as soon as the

pleadings are filed on CM/ECF. The Court has notified the probation office, which has notified

Boling’s supervising officer in Florida.

       Therefore, it is hereby

       ORDERED that Boling is to report to the halfway house in Florida and comply with all

other conditions of his probation.
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       SO ORDERED.

                                         /s/ Ellen Segal Huvelle
                                         ELLEN SEGAL HUVELLE
                                         United States District Judge

Date: February 8, 2017
